                         Case 1-18-43534-cec               Doc 1        Filed 06/19/18           Entered 06/19/18 16:01:10



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Owen & Fred Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed           Boarding Pass NYC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  42 West Street, #106
                                  Brooklyn, NY 11222
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.boardingpassnyc.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                        Case 1-18-43534-cec                      Doc 1       Filed 06/19/18              Entered 06/19/18 16:01:10

Debtor    Owen & Fred Corp.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4483

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                      Case 1-18-43534-cec                    Doc 1        Filed 06/19/18            Entered 06/19/18 16:01:10

Debtor   Owen & Fred Corp.                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                       Case 1-18-43534-cec                  Doc 1        Filed 06/19/18             Entered 06/19/18 16:01:10

Debtor    Owen & Fred Corp.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 19, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael Arnot                                                        Michael Arnot
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Dawn Kirby                                                            Date June 19, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Dawn Kirby
                                 Printed name

                                 DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                 Firm name

                                 One North Lexington Avenue
                                 White Plains, NY 10601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (914) 681-0200                Email address


                                 2733004 , NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                       Case 1-18-43534-cec                           Doc 1    Filed 06/19/18      Entered 06/19/18 16:01:10




                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Owen & Fred Corp.                                                                               Case No.
                                                                                    Debtor(s)               Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Owen & Fred Corp. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 19, 2018                                                         /s/ Dawn Kirby
 Date                                                                  Dawn Kirby
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Owen & Fred Corp.
                                                                       DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                       One North Lexington Avenue
                                                                       White Plains, NY 10601
                                                                       (914) 681-0200 Fax:(914) 684-0288




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                                                     UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF NEW YORK


                                                         STATEMENT PURSUANT TO LOCAL
                                                           BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Owen & Fred Corp.                                                          CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                     JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:




                                                                                   (OVER)
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                       Case 1-18-43534-cec                           Doc 1      Filed 06/19/18        Entered 06/19/18 16:01:10

DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                             (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                       Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Dawn Kirby
 Dawn Kirby
 Signature of Debtor's Attorney                                                             Signature of Pro Se Debtor/Petitioner
 DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
 One North Lexington Avenue
 White Plains, NY 10601
 (914) 681-0200 Fax:(914) 684-0288                                                          Signature of Pro Se Joint Debtor/Petitioner


                                                                                            Mailing Address of Debtor/Petitioner


                                                                                            City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                               Rev.8/11/2009
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
        ------------------------------------------X                                   Chapter        11
 IN RE: Owen & Fred Corp.
                                                                                      Case No.: 18-

                                    Debtor(s)                                         STATEMENT PURSUANT TO LOCAL RULE 2017
                  ------------------------------------------X

I, Dawn Kirby, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the above-named
   debtor(s):

                                      Date\Time                              Services

                                                                             Initial interview, analysis of financial
                                      6/18/2018                              condition, etc.

                                                                             Preparation and review of Bankruptcy
                                      6/19/2018                              petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $515.00 per hour.

Dated: June 19, 2018

                                                                        /s/ Dawn Kirby
                                                                        Dawn Kirby
                                                                        Attorney for debtor(s)
                                                                        DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                        One North Lexington Avenue
                                                                        White Plains, NY 10601

                                                                        (914) 681-0200 Fax:(914) 684-0288




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                       Case 1-18-43534-cec                           Doc 1      Filed 06/19/18      Entered 06/19/18 16:01:10

B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Owen & Fred Corp.                                                                                 Case No.
                                                                                      Debtor(s)                Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                   $                21,717.00
             Prior to the filing of this statement I have received                                         $                 5,000.00
             Balance Due                                                                                   $                16,717.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Debtor's Principal

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Debtor's Principal

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                              CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 19, 2018                                                                   /s/ Dawn Kirby
     Date                                                                            Dawn Kirby
                                                                                     Signature of Attorney
                                                                                     DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                                     One North Lexington Avenue
                                                                                     White Plains, NY 10601
                                                                                     (914) 681-0200 Fax: (914) 684-0288
                                                                                     Name of law firm




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                       Case 1-18-43534-cec                           Doc 1   Filed 06/19/18    Entered 06/19/18 16:01:10



                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Owen & Fred Corp.                                                                          Case No.
                                                                                  Debtor(s)            Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Michael Arnot, declare under penalty of perjury that I am the President of Owen & Fred Corp., and
that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 19th day of June, 2018.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Michael Arnot, President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case
on behalf of the corporation; and

       Be It Further Resolved, that Michael Arnot, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that Michael Arnot, President of this Corporation is authorized and directed to
employ Dawn Kirby, attorney and the law firm of DelBello Donnellan Weingarten Wise & Wiederkehr, LLP to
represent the corporation in such bankruptcy case."

 Date June 19, 2018                                                             Signed /s/ Michael Arnot
                                                                                       Michael Arnot




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                       Case 1-18-43534-cec                            Doc 1    Filed 06/19/18    Entered 06/19/18 16:01:10



                                                                     Resolution of Board of Directors
                                                                                    of
                                                                           Owen & Fred Corp.



      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Michael Arnot, President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case
on behalf of the corporation; and

       Be It Further Resolved, that Michael Arnot, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that Michael Arnot, President of this Corporation is authorized and directed to
employ Dawn Kirby, attorney and the law firm of DelBello Donnellan Weingarten Wise & Wiederkehr, LLP to
represent the corporation in such bankruptcy case.

 Date June 19, 2018                                                              Signed    /s/ Michael Arnot
                                                                                           Michael Arnot




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                       Case 1-18-43534-cec                           Doc 1   Filed 06/19/18             Entered 06/19/18 16:01:10


                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Owen & Fred Corp.                                                                                         Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 19, 2018                                                           Signature /s/ Michael Arnot
                                                                                            Michael Arnot

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                       Case 1-18-43534-cec                           Doc 1       Filed 06/19/18             Entered 06/19/18 16:01:10




 Fill in this information to identify the case:

 Debtor name         Owen & Fred Corp.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 19, 2018                           X /s/ Michael Arnot
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Arnot
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                            Case 1-18-43534-cec                        Doc 1       Filed 06/19/18               Entered 06/19/18 16:01:10



 Fill in this information to identify the case:
 Debtor name Owen & Fred Corp.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 On Deck Capital                                                                        Unliquidated                                                                    $156,320.98
 901 North Stuart
 Street
 Ste 700
 Arlington, VA 22203
 TDBank, NA.                                                     Line of Credit         Unliquidated                                                                      $97,376.21
 211 Montague Street
 Brooklyn, NY 11201
 American Express                                                Credit Card                                                                                              $92,335.61
 P.O. Box 981537
 El Paso, TX 79998
 Case NYC                                                        Manufacturer                                                                                             $79,283.00
 2321 Kennedy Blvd.
 Union City, NJ 07087
 EIN CAP, INC.                                                                          Disputed                                                                          $66,645.39
 160 Pearl Street, 5th
 Fl.
 New York, NY 10005
 Kabbage Business                                                                       Unliquidated                                                                      $41,310.00
 Loan
 P.O. Box 77081
 Atlanta, GA 30357
 Shopify Capital                                                                                                                                                          $30,997.68
 150 Elgin Street, 8th
 Fl.
 Ottawa Ontario, K2P
 1L4
 Serious Business                                                Supplier                                                                                                 $17,500.00
 Public Relations, LLC
 1133 Broadway Suite
 1402
 New York, NY 10010
 Anthros Bench-Made                                              Vendor                                                                                                   $17,254.30
 LLC
 197 Monreo Street,
 #1A
 Brooklyn, NY 11216


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                            Case 1-18-43534-cec                       Doc 1        Filed 06/19/18               Entered 06/19/18 16:01:10




 Debtor    Owen & Fred Corp.                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bluevine Capital, Inc.                                                                                                                                                   $16,385.90
 401 Warren Street,
 3rd Fl
 Redwood City, CA
 94063
 Capital One                                                     Credit Card                                                                                                $8,801.27
 P.O. BOX 30281
 Salt Lake City, UT
 84130-0281
 PayPal Working                                                                                                                                                             $7,145.85
 Capital
 Executive Escalation
 P.O. Box 5018
 Lutherville Timonium,
 MD 21094
 NYS Dept of Tax &                                               Sales Tax                                                                                                  $5,866.00
 Finance
 Bankruptcy Unit
 P.O. Box 5300
 Albany, NY 12205
 GHP Media                                                       Supplier                                                                                                   $3,928.61
 475 Heffernan Drive
 West Haven, CT
 06516
 Wickett & Craig                                                 Supplier                                                                                                   $3,324.54
 120 Cooper Road
 Curwensville, PA
 16833
 Cedar America                                                   Supplier                                                                                                   $3,025.00
 P.O. Box 668
 Grove City, OH 43123
 Standard Pattern                                                Supplier                                                                                                   $2,556.00
 Company
 2136 Lafayette Blvd.
 Fort Wayne, IN 46803
 Port Living Co                                                  Supplier                                                                                                   $1,663.00
 1741 James basford
 Place
 Mount Pleasant, SC
 29466
 Law Offices of                                                  Legal Services                                                                                                   $0.00
 Barry N. Seidel, Esq.
 81 Main Street, Suite
 215
 White Plains, NY
 10601




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                       Case 1-18-43534-cec                           Doc 1    Filed 06/19/18       Entered 06/19/18 16:01:10




                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Owen & Fred Corp.                                                                               Case No.
                                                                                    Debtor(s)               Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       June 19, 2018                                               /s/ Michael Arnot
                                                                         Michael Arnot/President
                                                                         Signer/Title

 Date: June 19, 2018                                                     /s/ Dawn Kirby
                                                                         Signature of Attorney
                                                                         Dawn Kirby
                                                                         DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
                                                                         One North Lexington Avenue
                                                                         White Plains, NY 10601
                                                                         (914) 681-0200 Fax: (914) 684-0288




USBC-44                                                                                                                          Rev. 9/17/98


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                   American Express
                   P.O. Box 981537
                   El Paso, TX 79998


                   Anthros Bench-Made LLC
                   197 Monreo Street, #1A
                   Brooklyn, NY 11216


                   Bluevine Capital, Inc.
                   401 Warren Street, 3rd Fl
                   Redwood City, CA 94063


                   Capital One
                   P.O. BOX 30281
                   Salt Lake City, UT 84130-0281


                   Case NYC
                   2321 Kennedy Blvd.
                   Union City, NJ 07087


                   Cedar America
                   P.O. Box 668
                   Grove City, OH 43123


                   EIN CAP, INC.
                   160 Pearl Street, 5th Fl.
                   New York, NY 10005


                   EIN CAP, INC.
                   Steven Zakharyayev, LLC
                   1430 Broadway Suite 402
                   New York, NY 10018


                   GHP Media
                   475 Heffernan Drive
                   West Haven, CT 06516


                   Kabbage Business Loan
                   P.O. Box 77081
                   Atlanta, GA 30357


                   Law Offices of
                   Barry N. Seidel, Esq.
                   81 Main Street, Suite 215
                   White Plains, NY 10601
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               NYS Dept of Tax & Finance
               Bankruptcy Unit
                P.O. Box 5300
               Albany, NY 12205


               Office of the US Trustee
               US Federal Office Buildin
               201 Varick St., Ste 1006
               New York, NY 10014


               On Deck Capital
               901 North Stuart Street
               Ste 700
               Arlington, VA 22203


               PayPal Working Capital
               Executive Escalation
               P.O. Box 5018
               Lutherville Timonium, MD 21094


               Port Living Co
               1741 James basford Place
               Mount Pleasant, SC 29466


               Serious Business
               Public Relations, LLC
               1133 Broadway Suite 1402
               New York, NY 10010


               Shopify Capital
               150 Elgin Street, 8th Fl.
               Ottawa Ontario, K2P 1L4


               Standard Pattern Company
               2136 Lafayette Blvd.
               Fort Wayne, IN 46803


               TDBank, NA.
               211 Montague Street
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               Wickett & Craig
               120 Cooper Road
               Curwensville, PA 16833
